      Case 4:17-cv-00780-DPM Document 115 Filed 10/30/20 Page 1 of 2




           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION

JAMES ANDREW TANNER                                          PLAINTIFF

v.                       No. 4:17-cv-780-DPM

KURT ZIEGENHORN, in his individual
capacity, and BILL BRYANT, Colonel,
in his official capacity as head of the
Arkansas State Police                                     DEFENDANTS

                                ORDER
     There are a few loose ends to tie up before trial.
     • The Court appreciates the prompt responding filings about the
       proposed voir dire, preliminary instructions, and stipulation
       about the 29 November 2014 Wal-Mart encounter.

     • The preliminary instructions, Doc. 110-2, are locked in without
       objection.

     • On voir dire, the Court has added questions about Facebook and
       guns. The Court declines to ask Tanner's proposed questions
       about the protests or interactions with police. We're not going
       to try the case in voir dire. The final version is attached.

     • The Court has revised the proposed stipulation in response to
       the parties' comments. Some discussion about Tanner and
       Trooper Ziegenhorn' s history is needed, but many of the
       suggested additions go too far. The current draft is attached.
       In hopes of reaching consensus, we will address this issue
       again at the pretrial on Monday.
Case 4:17-cv-00780-DPM Document 115 Filed 10/30/20 Page 2 of 2




• The Court will see what testimony develops on filming,
  whether Trooper Ziegenhorn believed that Tanner had
  someone with him, and prior conversations between
  Ziegenhorn and Searcy Police Officers. The normal tools - the
  Rules of Evidence, cross-examination, and impeachment- can
  handle these issues.

• The Court denies without prejudice the request for no punitive
  damages instruction against Trooper Ziegenhorn based on
  statutory immunity. Tanner might be able to establish malice
  at trial.

• The Court also denies Tanner's request for an automatic
  punitive damages instruction.       The Court agrees with
  Ziegenhorn and Bryant's reading of Arkansas law on this issue.
  The Court will use the traditional malice standard in deciding
  whether the evidence supports an instruction.

So Ordered.


                            D .P. Marshal( Jr.
                            United States District Judge




                             -2-
